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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IOWA PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM, et al.,
                             Plaintiffs,
                                                      17 Civ. 6221 (KPF)
                      -v.-
MERRILL LYNCH, PIERCE, FENNER &                            ORDER
SMITH INC., et al.,

                             Defendants.

KATHERINE POLK FAILLA, District Judge:

      The pre-trial conference currently scheduled for November 3, 2020, at

3:30 p.m. shall take place by teleconference on November 6, 2020, at 3:00 p.m.

At 3:00 p.m., the parties shall call (888) 363-4749 and enter access code

5123533. Please note, the conference will not be available prior to 3:00 p.m.

      SO ORDERED.

Dated:       October 21, 2020
             New York, New York            __________________________________
                                                KATHERINE POLK FAILLA
                                               United States District Judge
